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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                       THIRD AMENDED GENERAL ORDER 20-0012

                                           April 24, 2020

                IN RE: CORONAVIRUS COVID-19 PUBLIC EMERGENCY

       Given the public health emergency arising from the COVID-19 pandemic, and consistent

with guidance and orders from federal executive authorities, the State of Illinois, and local

governments, it is hereby ORDERED:

       Amended General Order 20-0012, entered on March 17, 2020; General Order 20-0014,

entered on March 20, 2020; and Second Amended General Order 20-0012, entered on March

30, 2020, are vacated and superseded by this Third Amended General Order. To protect the

public health and welfare, the United States District Court for the Northern District of Illinois

hereby orders, effective April 24, 2020:

                                       Court Remains Open

   1. This Court remains open and accessible, subject to the limitations and procedures set

       forth below.

                                            Civil Cases

   2. Amended General Order 20-0012 extended by 21 days all deadlines, in all civil cases

       and Executive Committee matters, whether set by the court, the Federal Rules of Civil

       Procedure, or the Local Rules. Second Amended General Order 20-0012 extended all

       deadlines in civil cases and Executive Committee matters by an additional 28 days.

       Those extensions were subject to the exceptions set forth in Paragraph 2 of Second

       Amended General Order 20-0012. This Third Amended General Order extends all

       deadlines in civil cases and Executive Committee matters by an additional 28 days.

       This further extension is subject to the following exceptions:




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       a) This Third Amended General Order does not affect the rights to or deadlines

           concerning any appeal from any decision of this Court in a civil case. That is, the

           deadlines for filing a notice of appeal in a civil case remained in place and had to

           be followed to preserve appellate rights. The Court invited parties to move under

           Appellate Rule 4(a)(5)(A) for an extension of time to appeal. If a timely extension

           motion is filed, then the Court deems that good cause exists for the extension

           given the public health emergency. Parties should note that any extensions of the

           appeal deadlines in civil cases are subject to the limits imposed by Appellate

           Rule 4(a)(5)(C), and that the Court cannot grant a second extension under

           Appellate Rule 4(a)(5).

       b) This Third Amended General Order does not grant an extension of any

           deadlines imposed by Civil Rules 50(b) or (d), 52(b), 59(b), (d), or (e), or 60(b).

           See Fed. R. Civ. P. 6(b)(2).

       c) For good cause, the presiding judge may—on the judge’s own motion or on a

           party’s motion—extend, shorten, or revoke the 28-day extension granted by this

           Third Amended General Order 20-0012, or any extension granted by Amended

           General Order 20-0012 or Second Amended General Order 20-0012.

3. Civil case hearings, bench trials, and settlement conferences scheduled for on or before

    May 29, 2020 are stricken, to be re-set by the presiding judge to a date on or after June

    1, 2020. Any party may request, by motion to the assigned judge, that a telephonic

    hearing or settlement conference (by remote means) be conducted prior to May 29,

    2020. Any such request shall specify the need and time urgency for the telephonic

    hearing or conference. This exception is not intended to invite requests for routine status

    hearings.

4. Civil jury trials scheduled for on or before June 26, 2020 are stricken, to be re-set by the

    presiding judge to a date on or after June 29, 2020.



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5. In any civil case (other than Social Security disability appeals, cases involving an

    unrepresented person in custody, and Multi-District Litigation tag-alongs) where no

    docket entry or order has been posted by the assigned judge since March 16, 2020, the

    parties shall file a joint written status report by May 18, 2020. The report, which shall be

    as concise as possible, shall address: (a) the progress of discovery; (b) the status of

    briefing on any unresolved motions; (c) settlement efforts. In addition, the report shall:

    (d) provide an agreed proposed schedule (or alternative proposals) for the next 45 days;

    (e) provide an agreed proposed revised discovery and dispositive motion schedule (or

    alternative proposals) in cases where the current schedule needs revision; (f) request

    any agreed action that the Court can take without a hearing; and (g) state whether the

    parties believe a telephonic hearing with the judge is necessary and time urgent, and, if

    so, identify the issue that warrants discussion. Before preparing and filing a report, the

    parties should consult the assigned judge’s webpage for any further guidance; for

    example, a judge may wish to relieve the parties of the obligation to file a status report in

    that judge’s cases, or some identifiable sub-set of cases.

                                      Criminal Cases

6. The Court recognizes and respects the right of criminal defendants, particularly those in

    pretrial detention, to a speedy and public trial under the Sixth Amendment. That said, the

    public health emergency requires that the following procedures be implemented in

    criminal cases:

        a) All criminal case proceedings, whether in the Eastern or Western Division, that

            cannot be continued will be conducted in the Eastern Division by emergency

            district judges designated by the Chief Judge.

        b) Grand juries shall continue to meet, with reasonable limits on grand jury

            sessions imposed by the Court in consultation with the U.S. Attorney’s Office.




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        c) Under Criminal Rule 4.1, a judge may review by reliable electronic means,

           rather than in person, a complaint, application for search warrant or

           trap/trace/pen register, application for wiretap, or application for any other

           warrant or order.

        d) Under Section 15002(b)(1) of the CARES Act, Pub. L. 116-136, 134 Stat. 281,

           the Chief Judge of this Court authorizes the use of videoconferencing, or

           teleconferencing if videoconferencing is not reasonably available, for the

           following proceedings, so long as the defendant gives written or verbal consent

           after consultation with counsel:

               i.   Detention hearings under 18 U.S.C. § 3142;

              ii.   Initial appearances under Criminal Rule 5;

             iii.   Preliminary hearings under Criminal Rule 5.1;

             iv.    Waivers of indictment under Criminal Rule 7(b);

              v.    Arraignments under Criminal Rule 10;

             vi.    Probation and supervised release revocation hearings under Criminal
                    Rule 32.1;

            vii.    Pretrial release revocation hearings under 18 U.S.C. § 3148;

            viii.   Appearances under Criminal Rule 40;

             ix.    Misdemeanor pleas and sentencings under Criminal Rule 43(b)(2); and

              x.    Juvenile proceedings under Title 18, Chapter 403, except for contested
                    transfer hearings, juvenile delinquency adjudication, or trial proceedings.

        e) A defendant who does not object to detention shall, before the scheduled

           detention hearing, notify the emergency judge orally (through counsel) or in

           writing that the defendant has no objection to detention. The decision to not

           object is without prejudice to the defendant’s right to later challenge detention

           and seek pretrial release.




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        f)   All supervised release revocation hearings scheduled for on or before May 29,

             2020 are continued and will be rescheduled by the presiding judge to a date on

             or after June 1, 2020, unless the defendant, defense counsel, the United States

             Probation Office, or the United States Attorney’s Office notifies the emergency

             judge that a hearing before June 1, 2020 is necessary.

        g) All plea hearings and sentencing hearings scheduled to begin on or before May

             29, 2020 are continued and will be rescheduled by the presiding judge to a date

             on or after June 1, 2020, unless the defendant, defense counsel, or the United

             States Attorney’s Office notifies the emergency judge that circumstances justify

             holding the plea or sentencing hearing before June 1, 2020. If the parties agree

             to invoke Section 15002(b)(2)(A) of the CARES Act to conduct a felony plea

             hearing or felony sentencing hearing by videoconferencing or teleconferencing,

             they shall notify the emergency judge, who will consult with the Chief Judge and

             the presiding judge regarding the findings required by Section 15002(b)(2)(A).

             Felony plea hearings and felony sentencing hearings may be held remotely by

             teleconferencing only if videoconferencing is not reasonably available.

        h) The court finds that the period of any continuance entered from the date of this

             Third Amended General Order through June 15, 2020 as a result of this Order

             shall be excluded under the Speedy Trial Act, 18 U.S.C. §3161(h)(7)(A). The

             court finds that the ends of justice served by the exclusion of time outweigh the

             interests of the parties and the public in a speedy trial given the need to protect

             the health and safety of defendants, defense counsel, prosecutors, court staff,

             and the public by reducing the number of in-person hearings to the greatest

             extent possible. This period of exclusion extends for 14 days beyond the

             resumption of criminal hearings on June 1, 2020, because each judge will




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             require a reasonable time to review and to reset case schedules after June 1,

             2020.

        i)   Criminal jury trials scheduled for before June 26, 2020 are stricken, to be reset

             by the presiding judge to a date on or after June 29, 2020. This continuance is

             necessary because criminal jury trials require: (i) the gathering of a large

             number of persons in the Jury Department; (ii) at least 12 jurors seated in the

             courtroom to hear evidence; (iii) 12 jurors to deliberate in the jury room; and (iv)

             five to six weeks’ notice in advance of trial to summon jurors. The advance-

             notice requirement makes any earlier date impractical because it is not known

             what large-gathering guidelines will be in place. Social-distancing guidelines

             might render juror participation difficult or unsafe, including during juror check-in

             and jury selection. For these same reasons, in cases impacted by this trial

             continuance, the Court excludes time under the Speedy Trial Act through June

             29, 2020, because the ends of justice outweigh the interests of the parties and

             the public in a speedy trial.

        j)   All other criminal hearings, including bench trials, scheduled for on or before

             May 29, 2020 are stricken, to be re-set by the presiding judge to a date on or

             after June 1, 2020.

        k) The prior Amended and Second Amended General Orders extended by 21 days

             and then by an additional 28 days all deadlines, including motions, briefing, and

             discovery deadlines, whether set by the court, the Federal Rules of Criminal

             Procedure, or the Local Rules. To the extent that governing statutes and rules

             allow, this Third Amended General Order extends all deadlines in criminal cases

             by an additional 28 days. The presiding judge, on a case-by-case basis and for

             good cause, may extend, shorten, or revoke any extension granted by this Third

             Amended General Order. The parties are cautioned that the prior versions of



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            General Order 20-0012 did not affect the rights or deadlines concerning any

            appeal from any decision of this Court, except as noted in those General

            Orders; nor did the prior versions affect any deadlines under Criminal Rule 35.

            See Fed. R. Crim. P. 45(b)(2). Likewise, except as noted in this Third Amended

            General Order, this Order does not affect the rights to or deadlines concerning

            any appeal from any decision of this Court or any action requested under

            Criminal Rule 35. Thus, the deadlines for filing a notice of appeal or seeking

            relief under Criminal Rule 35 remain in place and must be followed to preserve

            appellate rights. If the prior Amended General Orders extended an appeal

            deadline, no further extensions are permitted. See Fed. R. App. 4(b)(4). For

            appeal deadlines that have arisen after March 30, 2020, on its own motion and

            pursuant to Appellate Rule 4(b)(4), and in light of the public health emergency,

            the Court (i) finds that good cause exists in every criminal case to extend the

            time to appeal for 30 days from the expiration of the time otherwise prescribed in

            Appellate Rule 4(b), and (ii) extends the appeal deadline in those criminal cases

            by 30 days.


                  Emergency Relief in Any Case or from this Order

7. Any party may seek emergency relief in any case or from this Second Amended General

    Order. In addition to filing the emergency motion in the case in which emergency relief is

    sought, the party must file the motion in Case No. 20-cv-01792, which is a docket

    created to receive emergency motions filed under this Second Amended General Order.

    The emergency motion must be filed (i) electronically via CM/ECF if possible or (ii) for

    non-e-filers, via email as outlined in Paragraph 13. If neither CM/ECF nor email is

    available to a party, then the party may deposit the emergency motion in a courthouse

    drop-box or mail the motion as provided in Paragraphs 9 or 10, but parties are warned




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    that mail is not being processed on a regular basis. The emergency motion will be

    considered as soon as practicable by the presiding judge, an emergency judge, or the

    Chief Judge.

8. For an emergency matter, as defined by Local Rule 77.2(a)(3), that arises during

    business hours (Monday through Friday 7:00 a.m. through 6:00 p.m.), the party shall

    send an e-mail describing the emergency to Emergency_Judge@ilnd.uscourts.gov. The

    Clerk will monitor the mailbox and send a response. If an emergency matter arises

    outside of business hours, the party shall call (312) 702-8875, leave a message

    describing the emergency, and provide a return telephone number. The Clerk will return

    the call.

                            Clerk’s Office and Filing Options

9. The District Court Clerk’s Office in the Dirksen United States Courthouse in Chicago,

    Illinois, is closed to public entry through May 29, 2020. Filings in the Eastern Division

    may be: (1) electronically filed via CM/ECF; (2) deposited in the drop-box in the lobby of

    the Dirksen Courthouse during business hours; or (3) mailed to the U.S. District Court

    Clerk’s Office, 219 South Dearborn Street, 20th Floor, Chicago, IL 60604, although mail

    is not being processed on a regular basis. If a filing is mailed by a prisoner, the

    traditional “mail box” rule shall govern its filing date. Given the public health emergency

    and the current inability of the Clerk’s Office to process mail in the ordinary course, if a

    filing is mailed by a non-prisoner, the filing date shall be deemed to be the postmark

    date, subject to any party’s right to move that a different date be used. No in-person

    deliveries of any kind may be made to a judge’s chambers or to the Clerk’s Office.

 10. The District Court Clerk’s Office in the Stanley J. Roszkowski United States Courthouse

    in Rockford, Illinois, is closed to public entry through May 29, 2020. Filings in the

    Western Division may be: (i) electronically filed via CM/ECF; (ii) deposited in the drop

    box located on the 2nd floor of the Roszkowski United States Courthouse during



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    business hours; (iii) mailed to U.S. District Court Clerk’s Office, 327 South Church

    Street, Rockford, IL 61101, although mail is not being processed on a regular basis; or

    (iv) deposited in the drop box in the lobby of the Dirksen Courthouse during business

    hours. If a filing is mailed by a prisoner, the traditional “mail box” rule shall govern its

    filing date. Given the public health emergency and the current inability of the Clerk’s

    Office to process mail in the ordinary course, if a filing is mailed by a non-prisoner, the

    filing date shall be deemed to be the postmark date, subject to any party’s right to move

    that a different date be used. No in-person deliveries of any kind may be made to a

    judge’s chambers or to the Clerk’s Office.

                       Suspension of Local Rules 5.2(f) and 5.3(b)

11. The Court suspends Local Rule 5.2(f), which requires in many instances that paper

    courtesy copies of filings be delivered to the judge, through June 1, 2020. This means

    that no courtesy copies may be submitted for filings made through June 1, 2020.

12. Although parties may continue to file non-emergency motions, the Court suspends Local

    Rule 5.3(b), which otherwise requires that all motions be noticed for presentment. For

    non-emergency motions, no motion may be noticed for presentment on a date earlier

    than June 1, 2020. For notices of presentment on and after June 1, 2020, parties must

    consult each judges’ presentment schedule because the Court likely will operate on

    a modified motion-hearing schedule that alternates the days on which judges will hold a

    motion call.

                          Email Filing Option for Pro Se Parties

13. The Court suspends through May 29, 2020 the prohibition against pro se parties

    emailing their filings to the Clerk’s Office. From now through May 29, 2020, the Court will

    accept filings from pro se litigants via email that comply with these requirements: (i) the

    filing must be in PDF format; (ii) the filing must be signed s/ [filer’s name] or bear a

    handwritten signature; (iii) the email must be sent to Temporary_E-



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    Filing@ilnd.uscourts.gov; (iv) the email must state the party’s name, address, and phone

    number; (v) for existing cases, the email’s subject line must read: “Pro Se Filing [Insert

    Your Case Number]”, and for new cases, the email’s subject line must read: “Pro Se

    Filing in New Case”. E-mails that do not comply with these requirements will not be

    reviewed and will not be considered a proper filing.

                            Suspension of Public Gatherings

 14. All public gatherings are suspended through June 8, 2020 at both the Everett McKinley

    Dirksen U.S. Courthouse in Chicago and the Stanley J. Roszkowski U.S. Courthouse in

    Rockford. This includes, but is not limited to, group tours and visits, moot courts and

    mock trials, bar group meetings, seminars, and naturalization ceremonies. Also

    suspended are Second Chance reentry court proceedings, SOAR Court, Veterans

    Treatment court proceedings, and Petty Offense (CVB) proceedings. Notwithstanding

    this suspension, court proceedings allowed by another provision of this Order may take

    place.

                                  Additional Provisions

 15. This Third Amended General Order does not affect the authority of judges to enter

    orders in any civil or criminal cases. The parties must consult individual judges’

    websites for any modifications to the case-management requirements of this Order.

 16. The Court will vacate, amend, or extend this Third Amended General Order no later than

    May 26, 2020.

 17. The Clerk of Court shall distribute this Third Amended General Order: by electronic

    service on all registered CM/ECF users; by electronically posting the Order on the

    Court’s public website; by making printed copies available at the entrances of the

    Dirksen and Roszkowski Courthouses. In addition, the Clerk of Court shall send a copy

    of this Order, either electronically or by mail, to the Illinois Department of Corrections

    (IDOC), all IDOC prison or detention facilities, the Illinois Department of Human Services



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       Division of Mental Health Treatment and Detention Facility, and all county jails in this

       District; the warden, sheriff, or director of each prison, jail, or detention facility is

       directed to use reasonable means to notify persons incarcerated or detained therein of

       this Order and to allow access to this Order. In addition, the Clerk of Court shall docket

       this Order in each open civil case (with the exception of Multi-District Litigation tag-along

       cases) and each open criminal case. Printed copies will not be mailed to non-CM/ECF

       users due to the heavy burden such mailings would place on the Clerk’s Office.

                                                ENTER:

                                                FOR THE COURT:




                                                ___________________________________
                                                            Chief Judge

Dated at Chicago, Illinois this 24th day of April 2020




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